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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                              Plaintiff,                  Case No.: 1:24-cv-01174

       vs.

THE INDIVIDUALS, CORPORATIONS,                            Judge Sunil R. Harjani
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                              Defendants.

  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
              AGAINST DEFENDANTS NOS. 2, 3, 4, 8, 12, 14 & 15

       Plaintiff Roadget Business Pte. Ltd., (“Plaintiff” or “Roadget”), by its counsel, moves

this Court to enter Default and Default Judgment pursuant to Federal Rules of Civil Procedure

55(a) and 55(b)(2), against Defendants Nos. 2, 3, 4, 8, 12, 14, and 15 (“Defaulting Defendants”)

as listed on Schedule A, attached hereto as Exhibit A. A Memorandum of Law in support of this

motion is filed concurrently with the motion.
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November 7, 2024                        Respectfully submitted,

                                        By: /s/ Steven J. Horowitz
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                                         Roadget Business Pte. Ltd.
    Case: 1:24-cv-01174 Document #: 57 Filed: 11/07/24 Page 3 of 3 PageID #:911




                                CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2024, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a

website and I will send an e-mail to the e-mail addresses provided by third parties for each of the

Defaulting Defendants, including a link to said website.




 November 7, 2024                                 Respectfully submitted,

                                                  By: /s/ Steven J. Horowitz
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